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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE




JAMES RAY EPPS, SR.
                                             Case No. 23-cv-761-JLH
           Plaintiff,
v.
FOX NEWS NETWORK, LLC,
           Defendant.


            MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

          Plaintiff James Ray Epps, Sr. (“Epps”), by and through his undersigned

counsel, hereby moves this Court to allow Plaintiff to file an amended complaint

against Fox News Network, LLC (Fox). A copy of the proposed Amended

Complaint is attached hereto as Exhibit A. A redlined copy of the proposed

Amended Complaint is attached as Exhibit B.

     I.      BACKGROUND

             This case arises from statements by Tucker Carlson, an on-air personality

at Fox at the relevant times, and by his guests that were broadcast by Fox about

Epps that conveyed to viewers that Epps was a federal agent who incited the

insurrection at the United States Capitol on January 6, 2021. Epps filed suit against

Fox in Delaware Superior Court on July 10, 2023, alleging defamation and false

light. Fox removed the matter to this Court and subsequently filed a motion to

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dismiss. After briefing and argument, the Court granted Fox’s motion to dismiss on

November 27, 2024. The basis the Court provided for granting the motion rested

on the issue of whether Epps had pleaded facts sufficient to demonstrate actual

malice. Of particular note was that the Court did not consider the pleaded facts

regarding Abby Grossberg to demonstrate direct evidence of Fox’s knowledge of

the falsity of its statements about Epps because Epps had not pleaded that Ms.

Grossberg enjoyed sufficient responsibility for the content of Mr. Carlson’s shows.

The order granting the motion to dismiss allowed Epps to request leave to file an

amended complaint within 14 days.1

     II.       LEGAL ARGUMENT

           Federal Rule of Civil Procedure 15(a)(2) provides that a party may amend its

pleading “with the opposing party’s written consent or the court’s leave,” and that

“[t]he court should freely give leave when justice requires.” Fed. R. Civ. P.

15(a)(2). The Third Circuit has consistently emphasized the liberal approach to

pleading embodied by Rule 15. See, e.g., Mullin v. Balicki, 875 F.3d 140, 149 (3d

Cir. 2017); Arthur v. Maersk, 434 F.3d 196, 202 (3 Cir. 2006); Dole v. Arco, 921

F.2d 484, 487 (3d Cir. 1990). While a district court enjoys discretion as to whether

or not to allow an amended pleading, such “discretion, circumscribed by the Rule

15’s directive in favor of amendment, must be ‘exercised within the context of


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    D.I. 28.
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liberal pleading rules.’” Mullin, 875 F.3d at 150 (quoting Berkshire Fashions, Inc.

v. The M.V. Hakusan II, 954 F.2d 874, 886 (3d Cir. 1992)). “This liberal

amendment regime helps effectuate the ‘general policy embodied in the Federal

Rules favoring resolution of cases on their merits.’” Id. (quoting Island Creek Coal

Co. v. Lake Shore, Inc., 832 F.2d 274, 279 (4th Cir. 1987)).

      A court may deny leave to amend based on undue delay, bad faith or dilatory

motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party, and

futility. See Mullin, 875 F.3d at 149.

      As explained below, no bases exist for denying Epps an opportunity to

amend his complaint.

      A. Undue Delay, Bad Faith and Dilatory Tactics, and Repeated Failures
         to Cure Deficiencies Are Inapplicable Here

      A court may deny a motion to amend a complaint if the plaintiff unduly

delayed seeking such leave, has engaged in bad faith and dilatory tactics, or has

repeatedly failed to cure deficiencies through previous amendments. None of these

grounds exist here.

      A delay in seeking to amend a complaint is undue when it is “protracted and

unjustified.” Mullin, 875 F.3d at 151. “The mere passage of time does not require

that a motion to amend a complaint be denied on grounds of delay.” Cureton v.

Nat’l Collegiate Athletic Ass’n, 252 F.3d 267, 273 (3d Cir. 2001).
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      Epps seeks leave to file an amended complaint within the fourteen-day

period set by this Court in its order granting Fox’s motion to dismiss.2 Indeed,

Epps has proceeded diligently throughout this litigation. He filed his Complaint on

July 10, 2023, and after stipulating to a three-week extension for Fox to file its

motion to dismiss, Epps proceeded to file his opposition in the timeframe required

under the rules, without extension. Briefing concluded when Fox filed its reply on

September 12, 2023.3 There can be no reasonable allegation of undue delay.

      Nor does this motion implicate a concern about bad faith or dilatory tactics,

which appear more manifest when a party seeks to amend a complaint well into the

proceedings—for example, after the close of discovery or on the cusp of trial. See,

e.g., Johnson v. Trueblood, 629 F.2d 287, 294 (3d Cir. 1980) (affirming trial court’s

denial of motion to amend complaint on the forty-third day of trial); United States

ex rel. Nicholson v. MedCom Carolinas, Inc., 42 F.4th 185, 200 (4th Cir. 2022)

(affirming a denial of a motion to amend after plaintiff waited years to seek leave

to amend and “change[d] substantive facts from one filing to the next” to avoid

dismissal”); Agbaje v. Hargrave Mil. Acad., 328 F. Supp. 3d 539, 545 (W.D. Va.



2
  The Court’s Order provided that Epps could seek an extension of this period (D.I.
28), but he has not done so.
3
  In its briefing, Fox did not refer to the allegations regarding Ms. Grossberg, let
alone contend that Epps had failed to allege facts regarding Ms. Grossberg’s
authority or responsibility within Mr. Carlson’s show. The Court raised that issue
itself at the November 26 hearing.
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2018) (motion to file second amended complaint denied when filed “immediately

before the end of discovery”).

      Finally, the proposed amendment would be Epps’s first. He has not failed to

cure deficiencies through other amendments.

      B. Epps’s Amendment Would Not Cause Undue Prejudice to Fox

      A non-moving party’s opposition to an amended complaint “must do more

than merely claim prejudice; ‘it must show that it was unfairly disadvantaged or

deprived of the opportunity to present facts or evidence [that] it would have offered

had the … amendments been timely.’” Bechtel v. Robinson, 886 F.2d 644, 652 (3d

Cir. 1989) (quoting Heyl & Patterson Int’l, Inc. v. F.D. Rich Housing, 663 F.3d

419, 425 (3d Cir. 1981)). The Court must consider “whether allowing an

amendment would result in additional discovery, cost, preparation to defend

against new facts or new theories.” Cureton, 252 F.3d. at 273.

      In determining what constitutes “prejudice,” the Court considers whether the

assertion of the new claim would require the opponent to expend significant

additional resources to conduct discovery and prepare for trial or would

significantly delay the resolution of the dispute. Adams v. Gould, 739 F.2d 858, 869

(3d Cir. 1984), cert. denied, 469 U.S. 1122 (1985). Thus, prejudice normally arises

when a plaintiff seeks leave to amend in mature cases. A motion to amend a

complaint may be properly denied as unduly prejudicial to the defendants when it


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is made on the eve of trial or after the close of discovery. See, e.g., Harter v. GAF

Corp., 150 F.R.D. 502, 509 (D.N.J. 1993) (citing cases).

      Fox faces no undue prejudice if Epps amends his Complaint. The parties

have not yet undertaken discovery and, importantly, Epps asserts the same two

causes of action provided in the original Complaint. See Dole, 921 F.2d at 488

(finding no prejudice in part because the “proposed amended complaint is based

upon facts and circumstances which do not differ significantly from those

underlying the Secretary’s original allegations”).

      The only claim Fox could make of prejudice is in having to prepare and file

a new motion to dismiss. However, courts have made clear that having to prepare

new motions—even summary judgment motions following discovery—do not

constitute prejudice sufficient to warrant denying a motion to amend. See, e.g.,

Adams, 739 F.2d at 869 (reversing a district court’s denial of a motion to amend

even though defendants had prevailed on their summary judgment motion under

one theory of the case); Oregon Nat. Desert Ass'n v. McDaniel, 751 F. Supp. 2d

1151, 1157 (D. Or. 2011) (granting motion to amend complaint even though it

would require defendant to “prepare a new answer to ONDA’s complaint, new

summary judgment briefing, [and] new briefing to strike extra-record materials”);

Duling v. Gristede's Operating Corp., 265 F.R.D. 91, 101 (S.D.N.Y. 2010) (“the




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fact that an amendment will require a party to invest additional resources in

litigation is not sufficient grounds for its denial”).

      Thus, Fox faces no undue prejudice in granting Epps leave to amend his

Complaint.

      C. The Amendment Would Not Be Futile

      The final ground for denying a motion to amend is futility. “‘Futility’ means

that the complaint, as amended, would fail to state a claim upon which relief could

be granted.” In re Burlington Coat Factory Securities Lit., 114 F.3d 1410, 1434 (3d

Cir. 1997) In assessing “futility,” the District Court applies the same standard of

legal sufficiency as applies under Rule 12(b)(6). See Shane v. Fauver, 213 F.3d

113, 115 (3d Cir. 2000).

      At the November 26, 2024 hearing on Fox’s motion to dismiss, Fox argued

that Epps failed to plead facts that would indicate that Mr. Carlson was operating

within the scope of his contract with Fox when he appeared on a podcast on March

11, 2023.4 In its ruling, the Court concluded that without such allegations, Mr.


4
  Fox said: “And there are no allegations that could allow respondeat superior
liability for Fox News for something that Mr. Carlson said on a different platform.”
Tr. at 7:12-14. And later added: “And in order to try to show respondeat superior
liability of Fox, the plaintiffs would have to allege here something showing that
this was the kind of thing he was ordinarily employed for, that it was done in the
usual hours and in the physical space where he was usually employed and it was
done with a motive to serve the purposes of Fox. There are no factual allegations to
suggest any of that…If he’s writing a book, appearing on other podcasts, doing
other things, that’s Mr. Carlson on his own.” Tr. at 17:2-12.
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Carlson’s statements on the podcast could not form the basis for Fox’s liability. In

addition, Fox contended that Epps did not state facts showing that Fox relied on

false or undisclosed facts as the basis for its statements5 and did not plead special

damages regarding the false light claim.6

      The proposed amended complaint addresses these concerns. With regards to

Mr. Carlson’s appearance on the Redacted podcast, Epps provides new allegations

regarding Mr. Carlson’s contractual obligations—through the express words of

Fox’s own general counsel, who stated: “[p]ursuant to the terms of the Agreement,

Mr. Carlson’s ‘services shall be completely exclusive to Fox’” and that Mr. Carlson

is “prohibited from rendering services of any type whatsoever, whether ‘over the

internet via streaming or similar distribution, or other digital distribution whether

now known or hereafter devised.’”7 In addition, during the Redacted podcast,

which is video streamed, images directly from Fox and Mr. Carlson’s show were

aired.8


5
  “And Mr. Epps’ counsel pointed to a couple things that he thinks are false
statements, but that’s not alleged in the complaint, certainly not clearly. And there’s
nothing in the complaint that sort of this statement, I think he pointed to Mr.
Carlson saying that Mr. Epps said in his January 6th testimony he wasn’t, wasn’t
working for law enforcement, but actually something in the transcript saying he
didn’t work for a government agency. That’s not alleged in the complaint.” Tr. at
51:3-11.
6
  “There’s no allegation of special damages in this complaint that comes within the
limitations period.” Tr. at 18:12-13.
7
  See Proposed Am. Compl. ¶ 24.
8
  See Proposed Am. Compl. ¶ 64.
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      The proposed amended complaint also adds allegations regarding the falsity

of facts relied on by Fox as a basis for the alleged opinions expressed by Mr.

Carlson and his guests. Indeed, the proposed amended complaint specifically

names the false and undisclosed facts that undercut Fox’s opinion defense.9

      Finally, Epps has added specific allegations about special damages incurred

since July 10, 2022.10

      Fox cannot now contend that these points are immaterial or insignificant

since they advanced them as bases for dismissal.

      But most critically, the Court’s ruling made clear that its basis for granting

the motion to dismiss rested on its view that Epps did not allege sufficient facts to

demonstrate that Ms. Grossberg’s statements constituted direct evidence of Fox’s

knowledge of the falsity of its statements about Epps and that Epps did not allege

sufficient facts to provide sufficient circumstantial evidence that Fox acted with

actual malice. Epps’s proposed amended complaint provides significant additional

facts—including allegations premised on multiple Fox employees’ accounts of the

internal disbelief at Fox of Mr. Carlson’s statements about Epps.11 Further, the

proposed amended complaint also addresses Ms. Grossberg’s critical role in Mr.

Carlson’s show, noting that her job description stated that she would play a


9
  See Proposed Am. Compl. ¶¶ 76-84.
10
   See Proposed Am. Compl. ¶¶ 22, 141, 149, 161, 175, Prayer for Relief (b).
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   See Proposed Am. Compl. ¶¶ 85-119.
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 “prominent role” in shaping the content of Mr. Carlson’s broadcasts. As discussed

 now in the proposed amended complaint, Ms. Grossberg participated in meetings

 for those responsible for the content of Mr. Carlson’s broadcasts. By virtue of her

 role, Ms. Grossberg, herself, was among those responsible for the defamatory

 content of the Epps storyline, and Ms. Grossberg has admitted knowledge of

 falsity. That is sufficient itself to support allegations of actual malice brought home

 to those within Fox responsible for the defamation.12

       Further, Ms. Grossberg’s statements reveal that she observed the actions of

 all persons within Fox responsible for the defamatory statements and directly

 observed their acts of fabrication, their knowledge of falsity, and reckless disregard

 for the truth. Ms. Grossberg described meetings with Justin Wells, who was the

 Senior Executive Producer of Mr. Carlson’s show, in which Mr. Wells explained

 that he was coordinating with Fox’s executives and Mr. Carlson to manufacture

 stories about January 6 following Mr. Carlson being granted access to 44,000 hours

 of video footage.

       Beyond Ms. Grossberg, the proposed amended complaint discusses a lawsuit

 filed by Jason Donner, a former Fox employee, that documents internal discussions



 12
    See, e.g., New York Times v. Sullivan, 376 U.S. 254, 287 (1964) (“[T]he state of
 mind required for actual malice [must] be brought home to the persons in the …
 organization having responsibility for the publication”); see also US Dominion Inc.
 v. Fox News Network LLC, 293 A.3d 1002, 1048-50 (Del. 2023).
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 regarding Mr. Carlson’s coverage of January 6 and the theory that federal agents

 were responsible for inciting the insurrection. According to Mr. Donner, the D.C.

 Bureau Chief said that Mr. Carlson was “out of control,” but there was nothing

 they could do to stop him from making his false statements because he was too

 powerful.

       In addition, Fox personality Geraldo Rivera also claimed that once he began

 speaking out about Mr. Carlson’s false assertions about January 6th, Mr. Rivera

 began receiving calls from people within Fox expressing their shock and outrage

 about Mr. Carlson’s statements and thanking Mr. Rivera for speaking out because

 they felt they were unable to, suggesting that other employees could be found

 through discovery who could further corroborate the already unusually strong

 evidence of actual malice provided by Ms. Grossberg, Mr. Donner, and Mr.

 Rivera’s accounts.

       In sum, the proposed amended complaint bolster’s Epps’s allegations

 regarding actual malice well beyond the standard required at this stage with actual

 direct evidence of knowledge about the statements’ falsity. With these allegations,

 Epps’s proposed amended complaint provides far more substance and details

 demonstrating actual malice than plaintiffs are typically capable of pleading at this

 stage—including in matters that have advanced beyond motions to dismiss. See,

 e.g., Harte–Hanks Communications, Inc. v. Connaughton, 491 U.S. 657, 685


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 (1989) (purposeful avoidance of truth satisfied the actual malice standard);

 Schiavone Const. Co. v. Time, Inc., 847 F.2d 1069, 1091-93 (3d. Cir. 1988)

 (reversing a grant of summary judgment and holding that a jury could find actual

 malice from the fact that independent sources contradicted the article’s defamatory

 statements, that a jury might not credit the explanations offered by the defendant

 for not disclosing certain facts, and that the decision itself to omit the facts is

 evidence of actual malice); Nunes v. Lizza, 12 F.4th 890, 901 (8th Cir. 2021)

 (reversing the grant of a motion to dismiss on actual malice grounds when the only

 alleged basis consisted of the defendant tweeting the story after plaintiff filed the

 lawsuit and alleged it was false and stating, “Republication of a statement after the

 defendant has been notified that the plaintiff contends that it is false and

 defamatory may be treated as evidence of reckless disregard” (quoting Restatement

 (Second) of Torts § 580A cmt. d (Am. L. Inst. 1977).)); Boone v. Newsweek,

 No. CV 22-1601, 2023 WL 2245104, at *6 (E.D. Pa. Feb. 27, 2023) (noting that to

 survive a motion to dismiss a plaintiff “must only plead facts that, taken as true,

 raise a reasonable inference that defendant acted with actual malice and denying a

 motion to dismiss where the only allegation of actual malice rested on a badge

 number and nametag being visible in the picture included in a story so that

 defendants would have recklessly disregarded that fact and because it constituted

 evidence of internal inconsistences with the story); Mzamam v. Winfrey, 693 F.


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 Supp. 2d 442, 509-10 (E.D. Pa. 2010) (denying defendant’s motion for summary

 judgment because plaintiff provided evidence suggesting defendant purposefully

 avoided the truth); US Dominion, Inc. v. Fox News Network, LLC, No. CV N21C-

 03-257 EMD, 2021 WL 5984265, at *28 (Del. Super. Ct. Dec. 16, 2021) (“At this

 stage, the Court finds that the Complaint alleges facts that Fox made the

 challenged statements with knowledge of their falsity or with reckless disregard of

 their truth.”).

    Fox’s arguments and the Court’s decision granting the motion to dismiss were

 all premised on pleading insufficiencies, not facially invalid causes of action or

 legal deficiencies. Thus, the proposed amended complaint is not futile.

    III.    CONCLUSION

        The Court should grant Epps leave to file an amended complaint. Rule 15

 and the corresponding caselaw require a liberal approach to such requests. No basis

 exists for denying the motion and Epps should be provided an opportunity for this

 matter to be decided on the merits.

                     STATEMENT PURSANT TO RULE 7.1.1

        The undersigned hereby certify that a reasonable effort has been made to

 reach resolution of this matter prior to the filing of the instant motion. The parties

 have telephonically met and conferred, and Fox opposes the motion.




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 Dated: December 10, 2024                   Respectfully submitted,

 Of Counsel:                                FARNAN LLP

 Michael J. Teter                           /s/ Brian E. Farnan
 TETER LEGAL                                Brian E. Farnan (Bar No. 4089)
 P.O. Box 522365                            Michael J. Farnan (Bar No. 5165)
 Salt Lake City, UT 84152                   919 North Market Street, 12th Floor
 Telephone: (202) 796-6619                  Wilmington, DE 19801
 michael@teterlegal.com                     Telephone: (302) 777-0300
                                            bfarnan@farnanlaw.com
 Dick J. Baldwin                            mfarnan@farnanlaw.com
 PARR BROWN GEE & LOVELESS
 101 South 200 East, Suite 700              Rodney Alan Smolla (Bar No. 6327)
 Salt Lake City, UT 84111                   164 Chelsea Street
 Telephone: (801) 532-7840                  South Royalton, VT 05068
 dbaldwin@parrbrown.com                     Telephone: (864) 373-3882
                                            rodsmolla@gmail.com

                                            Attorneys for Plaintiff James Ray
                                            Epps, Sr.




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